 

 

Case 15-11685-KJC Doc170 Filed 09/22/15 Page 1 of 3

© IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re Chapter 11

HERCULES OFFSHORE, INC., et al., Case No. 15-11685 (KJC)

Debtors. Jointly Administered

RE: DL_125, (GS°

 

ORDER GRANTING DEBTORS’ MOTION TO FILE UNDER SEAL CERTAIN
EXHIBITS TO DEBTORS’ MOTION TO APPROVE FDT LLC SETTLEMENTS
PURSUANT TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019 AND

SECTIONS 105(a) AND 363(8) OF THE BANKRUPTCY CODE

Upon the motion (the “Motion”)’ of the above-captioned debtors and debtors in

 

possession (the “Debtors”) for entry of an order (this “Order”), pursuant to sections 105(a) and
107(b) of the Bankruptcy Code, Bankruptcy Rule 9018, and Local Rule 9018-~1(6), authorizing
@ the Debtors to file the Settlement Agreements under seal; and the Court having found that it has
jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing
Order of Reference from the United States District Court for the District of Delaware, dated
February 29, 2012; and the Court having found that this is a core proceeding pursuant to 28
U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and the Motion in
this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors,

 

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Cliffs Drilling Company (8934); Cliffs Drilling Trinidad L.L.C. (5205); FDT
LLC (7581); FDT Holdings LLC (4277); Hercules Drilling Company, LLC (2771); Hercules Liftboat
Company, LLC (0791); Hercules Offshore, Inc. (2838); Hercules Offshore Services LLC (1670); Hercules
Offshore Liftboat Company LLC (5303); HERO Holdings, Inc. (5475); SD Drilling LLC (8190); THE
Offshore Drilling Company (4465); THE Onshore Drilling Company (1072); TODCO Americas Inc.
(0289); and TODCO International Inc. (6326). The address of the Debtors’ corporate headquarters is
Hercules Offshore, Inc., 9 Greenway Plaza, Ste 2200, Houston, TX 77046.

Capitalized terms not defined herein are defined in the Motion.
Case 15-11685-KJC Doc170 Filed 09/22/15 Page 2 of 3

and other parties in interest; and the Court having found that Debtors’ notice of the Motion and
the opportunity for a hearing on the Motion was appropriate under the circumstances and no
other notice need be provided; and the Court having reviewed the Motion; and the Court having
determined that the legal and factual bases set forth in the Motion establish just cause for the
relief granted herein; and upon all of the proceedings had before the Court; and after due
deliberation and sufficient cause appearing therefor;

IT IS HEREBY ORDERED THAT:

1, The Motion is GRANTED as set forth herein.

2. The Debtors are authorized to file the Settlement Agreements under seal,
which shall remain under seal and confidential and shall not be made available to anyone without
the prior written consent of the Debtors and the counter-parties thereto, in each case in their sole
discretion, or pursuant to further order by this Court; provided, however, that copies of the
Settlement Agreements may be disclosed on a strictly confidential basis to the U.S. Trustee,

3. The Debtors are under no further filing obligation with respect to the
Settlement Motion.

4. The Debtors are authorized to take all actions necessary and appropriate to
effectuate the relief granted herein,

3. The terms and provisions of this Order shall be binding in all respects
upon all parties in these cases, the Debtors, their estates and all successors and assigns thereof,
including any chapter 7 trustee or chapter 11 trustee appointed in any of these cases or after
conversion of any of these cases to cases under chapter 7 of the Bankruptcy Code or any plan

agent, administrator, or trustee no matter how denominated,
 

 

 

Case 15-11685-KJC Doc170 Filed 09/22/15 Page 3 of 3

6. The provisions and effect of this Order, any actions taken pursuant to this
Order, and the respective rights, obligations, remedies, and protections provided herein shall
survive the conversion, dismissal, or closing of these cases, appointment of a trustee herein (or
after conversion of any of these cases to cases under chapter 7 of the Bankruptcy Code) or the
substantive consolidation of these cases with any other case or cases, and the terms and
provisions of this Order shall continue in full force and effect notwithstanding the entry of any
such order.

7. Nothing contained in any plan or otherwise proposed in any of these cases
or any order confirming any plan or in any other order in these cases or entered after any
conversion of these cases to cases under chapter 7 of the Bankruptcy Code shall alter, conflict
with, or derogate from, the provisions of this Order.

8. The Court shall retain jurisdiction with respect to all matters arising from

or related to the interpretation or implementation of this Order.

Dated: Sept 7- 2015
Wilmington, Delaware tad Made

KEVIN ¥C Y
STA § ANKRUPTCY

 

 
